        Case: 3:20-cv-00799-wmc Document #: 1 Filed: 08/30/20 Page 1 of 8




                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WISCONSIN

                                        Case No. 3:20-cv-799

DEBORAH LAUFER, individually,

       Plaintiff,

v.

CARRIER ACCOMMODATIONS, LLC,
d/b/a Seagull Bay Motel

      Defendant.
______________________________________/

                                          COMPLAINT
                                   (Injunctive Relief Demanded)

       Plaintiff, DEBORAH LAUFER, individually, on her behalf and on behalf of all other

individuals similarly situated (sometimes referred to as “Plaintiff”), hereby sues the Defendant,

CARRIER ACCOMMODATIONS, LLC d/b/a Seagull Bay Motel (sometimes referred to as

“Defendant”), for Injunctive Relief, and attorney’s fees, litigation expenses, and costs pursuant to

the Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. (“ADA”).

       1.      Plaintiff is a resident of Pasco County, Florida, is sui juris, and qualifies as an

individual with disabilities as defined by the ADA. Plaintiff is unable to engage in the major life

activity of walking more than a few steps without assistive devices. Instead, Plaintiff is bound to

ambulate in a wheelchair or with a cane or other support and has limited use of her hands. She is

unable to tightly grasp, twist the wrist, and pinch to operate. Plaintiff is also vision impaired. When

ambulating beyond the comfort of her own home, Plaintiff must primarily rely on a wheelchair.

Plaintiff requires accessible handicap parking spaces located closest to the entrances of a facility.

The handicap and access aisles must be of sufficient width so that she can embark and disembark
         Case: 3:20-cv-00799-wmc Document #: 1 Filed: 08/30/20 Page 2 of 8




from a ramp into her vehicle. Routes connecting the handicap spaces and all features, goods and

services of a facility must be level, properly sloped, sufficiently wide and without cracks, holes or

other hazards that can pose a danger of tipping, catching wheels or falling. These areas must be free

of obstructions or unsecured carpeting that make passage either more difficult or impossible.

Amenities must be sufficiently lowered so that Plaintiff can reach them. She has difficulty operating

doorknobs, sink faucets, or other operating mechanisms that require tight grasping, twisting of the

wrist or pinching. She is hesitant to use sinks that have unwrapped pipes, as such pose a danger of

scraping or burning her legs. Sinks must be at the proper height so that she can put her legs

underneath to wash her hands. She requires grab bars both behind and beside a commode so that she

can safely transfer, and she has difficulty reaching the flush control if it is on the wrong side. She

has difficulty getting through doorways if they lack the proper clearance.

        2.      Plaintiff is an advocate of the rights of similarly situated disabled persons and is a

"tester" for the purpose of asserting her civil rights and monitoring, ensuring, and determining

whether places of public accommodation and their websites are in compliance with the ADA.

        3.      Defendant owns, leases, leases to, or operates a place of public accommodation as

defined by the ADA and the regulations implementing the ADA, 28 CFR 36.201(a) and 36.104. The

place of public accommodation that the Defendant owns, leases, leases to, or operates is a place of

lodging known as Seagull Bay Motel, located at 325 S. 7th Street, Bayfield, WI, and is located in

the County of Bayfield (hereinafter "Property").

        4.      Venue is properly located in the Western District of Wisconsin because the injury

occurred in this district.
        Case: 3:20-cv-00799-wmc Document #: 1 Filed: 08/30/20 Page 3 of 8




       5.      Pursuant to 28 U.S.C. § 1331 and 28 U.S.C. § 1343, this Court has been given original

jurisdiction over actions which arise from the Defendant’s violations of Title III of the Americans

with Disabilities Act, 42 U.S.C. § 12181 et seq. See also 28 U.S.C. § 2201 and § 2202.

       6.      As the owner, lessor, lessee, or operator of the subject place of lodging, Defendant is

required to comply with the ADA. As such, Defendant is required to ensure that its place of lodging

is in compliance with the standards applicable to places of public accommodation, as set forth in the

regulations promulgated by the Department of Justice. Said regulations are set forth in the Code of

Federal Regulations, the Americans with Disabilities Act Architectural Guidelines ("ADAAGs"),

and the 2010 ADA Standards, incorporated by reference into the ADA. These regulations impose

requirements pertaining to places of public accommodation, including places of lodging, to ensure

that they are accessible to disabled individuals.

       7.      More specifically, 28 C.F.R. Section 36.302(e)(1) imposes the following

requirement:

       Reservations made by places of lodging. A public accommodation that owns, leases (or
       leases to), or operates a place of lodging shall, with respect to reservations made by any
       means, including by telephone, in-person, or through a third party -
               (i) Modify its policies, practices, or procedures to ensure that individuals with
               disabilities can make reservations for accessible guest rooms during the same hours
               and in the same manner as individuals who do not need accessible rooms;
               (ii) Identify and describe accessible features in the hotels and guest rooms offered
               through its reservations service in enough detail to reasonably permit individuals with
               disabilities to assess independently whether a given hotel or guest room meets his or
               her accessibility needs;
               (iii) Ensure that accessible guest rooms are held for use by individuals with
               disabilities until all other guest rooms of that type have been rented and the accessible
               room requested is the only remaining room of that type;
               (iv) Reserve, upon request, accessible guest rooms or specific types of guest rooms
               and ensure that the guest rooms requested are blocked and removed from all
               reservations systems; and
               (v) Guarantee that the specific accessible guest room reserved through its reservations
               service is held for the reserving customer, regardless of whether a specific room is
               held in response to reservations made by others.
        Case: 3:20-cv-00799-wmc Document #: 1 Filed: 08/30/20 Page 4 of 8




These regulations became effective March 15, 2012.

       8.      Defendant, either itself or by and through a third party, implemented, operates,

controls and/or maintains websites for the Property which contain an online reservations system.

This term also includes all other websites owned and operated by Defendant or by third parties to

book or reserve guest accommodations at the hotel. These websites are located at:

https://www.seagullbay.com/; https://via.eviivo.com/; www.expedia.com; www.hotels.com; and

www.orbitz.com. The purpose of these websites is so that members of the public may reserve guest

accommodations and review information pertaining to the goods, services, features, facilities,

benefits, advantages, and accommodations of the Property. As such, these websites are subject to

the requirements of 28 C.F.R. Section 36.302(e). The Defendant has failed to provide the third party

providers with the information required for their websites to identify or allow for booking of

accessible rooms or to post sufficient information regarding accessibility at the hotel in violation of

28 C.F.R. 36.302(e)(1)(ii).

       9.      Prior to the commencement of this lawsuit, Plaintiff visited the websites on May 31,

2020, for the purpose of reviewing and assessing the accessible features at the Property and to

ascertain whether they meet the requirements of 28 C.F.R. Section 36.302(e) and her accessibility

needs. However, Plaintiff was unable to do so because Defendant failed to comply with the

requirements set forth in 28 C.F.R. Section 36.302(e). As a result, Plaintiff was deprived the same

goods, services, features, facilities, benefits, advantages, and accommodations of the Property

available to the general public. Specifically, the websites do not identify accessible rooms, and did

not have sufficient information about accessibility in the hotel (such as the availability of a roll-in

shower, whether there are accessible entrances to the hotel, availability of any accessible rooms,

etc.). Additionally, the websites did not allow for booking of accessible rooms.
        Case: 3:20-cv-00799-wmc Document #: 1 Filed: 08/30/20 Page 5 of 8




       10.     In the near future, Plaintiff intends to revisit Defendant's websites and/or online

reservations system in order to test it for compliance with 28 C.F.R. Section 36.302(e). In this

respect, Plaintiff maintains a system to ensure that she revisits the online reservations system of

every hotel she sues. By this system, Plaintiff maintains a list of all hotels she has sued with several

columns following each. She continually updates this list by, among other things, entering the dates

she did visit and plans to again visit the hotel’s online reservations system. With respect to each

hotel, she visits the online reservations system multiple times prior to the complaint being filed, then

visits again shortly after the complaint is filed. Once a judgment is obtained or a settlement

agreement reached, she records the date by which the hotel’s online reservations system must be

compliant and revisits when that date arrives.

       11.     Plaintiff has revisited the websites and encountered the same conditions described

above. Plaintiff is continuously aware that the subject websites remain non-compliant and that it

would be a futile gesture to revisit the websites as long as those violations exist unless she is willing

to suffer additional discrimination.

       12.     The violations present at Defendant's websites infringe Plaintiff's right to travel free

of discrimination and deprive her of the information required to make meaningful choices for travel.

Plaintiff has suffered, and continues to suffer, frustration and humiliation as the result of the

discriminatory conditions present at Defendant's website. By continuing to operate the websites with

discriminatory conditions, Defendant contributes to Plaintiff's sense of isolation and segregation and

deprives Plaintiff the full and equal enjoyment of the goods, services, facilities, privileges and/or

accommodations available to the general public. By encountering the discriminatory conditions at

Defendant's websites, and knowing that it would be a futile gesture to return to the websites unless

she is willing to endure additional discrimination, Plaintiff is deprived of the same advantages,
          Case: 3:20-cv-00799-wmc Document #: 1 Filed: 08/30/20 Page 6 of 8




privileges, goods, services and benefits readily available to the general public. By maintaining

websites with violations, Defendant deprives Plaintiff the equality of opportunity offered to the

general public. Defendant's online reservations system serves as a gateway to its hotel. Because this

online reservations system discriminates against Plaintiff, it is thereby more difficult to book a room

at the hotel or make an informed decision as to whether the facilities at the hotel are accessible.

          13.   Plaintiff has suffered and will continue to suffer direct and indirect injury as a result

of the Defendant’s discrimination until the Defendant is compelled to modify its websites to comply

with the requirements of the ADA and to continually monitor and ensure that the subject websites

remain in compliance.

          14.   Plaintiff has a realistic, credible, existing and continuing threat of discrimination from

the Defendant’s non-compliance with the ADA with respect to these websites. Plaintiff has

reasonable grounds to believe that she will continue to be subjected to discrimination in violation of

the ADA by the Defendant.

          15.   The Defendant has discriminated against the Plaintiff by denying her access to, and

full and equal enjoyment of, the goods, services, facilities, privileges, advantages and/or

accommodations of the subject websites

          16.   The Plaintiff and all others similarly situated will continue to suffer such

discrimination, injury and damage without the immediate relief provided by the ADA as requested

herein.

          17.   Defendant has discriminated against the Plaintiff by denying her access to full and

equal enjoyment of the goods, services, facilities, privileges, advantages and/or accommodations of

its place of public accommodation or commercial facility in violation of 42 U.S.C. § 12181 et seq.

and 28 CFR 36.302(e). Furthermore, the Defendant continues to discriminate against the Plaintiff,
        Case: 3:20-cv-00799-wmc Document #: 1 Filed: 08/30/20 Page 7 of 8




and all those similarly situated by failing to make reasonable modifications in policies, practices or

procedures, when such modifications are necessary to afford all offered goods, services, facilities,

privileges, advantages or accommodations to individuals with disabilities; and by failing to take such

efforts that may be necessary to ensure that no individual with a disability is excluded, denied

services, segregated or otherwise treated differently than other individuals because of the absence of

auxiliary aids and services.

       18.     Plaintiff is without adequate remedy at law and is suffering irreparable harm.

Plaintiff has retained the undersigned counsel and is entitled to recover attorney’s fees, costs and

litigation expenses from the Defendant pursuant to 42 U.S.C. § 12205 and 28 CFR 36.505.

       19.     Pursuant to 42 U.S.C. § 12188, this Court is provided with authority to grant Plaintiff

Injunctive Relief, including an order to require the Defendant to alter the subject websites to make

them readily accessible and useable to the Plaintiff and all other persons with disabilities as defined

by the ADA and 28 C.F.R. Section 36.302(e); or by closing the websites until such time as the

Defendant cures its violations of the ADA.

       WHEREFORE, Plaintiff respectfully requests:

               a.      The Court issue a Declaratory Judgment that determines that the Defendant

               at the commencement of the subject lawsuit is in violation of Title III of the

               Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. and 28 C.F.R. Section

               36.302(e).

               b.      Injunctive relief against the Defendant including an order to revise its

               websites to comply with 28 C.F.R. Section 36.302(e) and to implement a policy to

               monitor and maintain the websites to ensure that they remain in compliance with said

               requirement.
Case: 3:20-cv-00799-wmc Document #: 1 Filed: 08/30/20 Page 8 of 8




     c.     An award of attorney’s fees, costs and litigation expenses pursuant to 42

     U.S.C. § 12205.

     d.     Such other relief as the Court deems just and proper, and/or is allowable under

     Title III of the Americans with Disabilities Act.

                                   Respectfully Submitted,

                                   Attorneys for Plaintiff

                                   Kathy L. Houston, Esq., Of Counsel
                                   THOMAS B. BACON, P.A.
                                   15321 S. Dixie Highway, Suite 205
                                   Miami, FL 33157
                                   Tel: (305) 420-6609
                                   Fax: (786) 441-4416
                                   Email: courtdocs@houstonlawfl.com

                                   By:     /s/ Kathy L Houston_________
                                   Kathy L. Houston, Esq.
                                   Florida Bar No: 56042
